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                                 UNITED STATES DISTRICT COURT
16                             NORTHERN DISTRICT OF CALIFORNIA
                                       SAN JOSE DIVISION
17
     SUZANNE-JULIETTE MOBLEY, DANIEL                 Case No. 16-cv-06440-EJD
18   MANRIQUEZ, and VICTOR ONUOHA, on
     behalf of themselves and all others similarly
19   situated,                                       JOINT POST-MEDIATION STATUS
                                                     REPORT & [PROPOSED] ORDER
20          Plaintiffs,
     vs.
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     FACEBOOK, INC., and DOES 1-9999,
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            Defendants.
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                                                            JOINT POST-MEDIATION STATUS REPORT
                                                                            & [PROPOSED] ORDER
                                                                         CASE NO. 16-CV-06440-EJD
                   Case 5:16-cv-06440-EJD Document 64 Filed 06/08/18 Page 2 of 7



 1           Plaintiffs Suzanne-Juliette Mobley, Daniel Manriquez, and Victor Onuoha (“Plaintiffs”) and

 2   Defendant Facebook, Inc. (“Facebook”) jointly submit this post-mediation status report pursuant to

 3   the Court’s March 23, 2018 Order. ECF No. 60. The parties apologize to the Court for the delay in

 4   filing this report.

 5           Since the parties submitted their last joint status report on March 22, 2018, another case has

 6   been filed against Facebook asserting claims based on Facebook’s ad platform. Nat’l Fair Hous.

 7   Alliance v. Facebook, Inc., 18-cv-2689-JGK (S.D.N.Y Mar. 27, 2018) (“NFHA”). Because both

 8   cases challenge the functioning of Facebook’s online advertising tools and alleged discrimination,

 9   Plaintiffs and Facebook have expanded the settlement discussions to include the NFHA plaintiffs.

10   The parties are in the process of determining an appropriate structure for the settlement negotiations.

11           Accordingly, the parties jointly request that the Court set a deadline of July 6, 2018 for a

12   further status report. The parties respectfully request that the hearing on Facebook’s Motion to

13   Dismiss and the Initial Case Management Conference remain vacated and Facebook’s Motion to

14   Dismiss remain administratively terminated while the parties continue to attempt to resolve the

15   litigation.

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17                                                    Respectfully submitted,

18   Dated: June 8, 2018                              By:     /s/ Jahan C. Sagafi
                                                             Jahan C. Sagafi
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                                                         -1-       JOINT POST-MEDIATION STATUS REPORT
                                                                                   & [PROPOSED] ORDER
                                                                                CASE NO. 16-CV-06440-EJD
     Case 5:16-cv-06440-EJD Document 64 Filed 06/08/18 Page 3 of 7



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                                     -2-      JOINT POST-MEDIATION STATUS REPORT
                                                              & [PROPOSED] ORDER
                                                           CASE NO. 16-CV-06440-EJD
              Case 5:16-cv-06440-EJD Document 64 Filed 06/08/18 Page 4 of 7



 1   Dated: June 8, 2018                   By:    /s/    Rosemarie T. Ring
                                                         Rosemarie T. Ring
 2
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                                           Attorneys for Defendant Facebook, Inc.
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                                              -3-       JOINT POST-MEDIATION STATUS REPORT
                                                                        & [PROPOSED] ORDER
                                                                     CASE NO. 16-CV-06440-EJD
              Case 5:16-cv-06440-EJD Document 64 Filed 06/08/18 Page 5 of 7



 1                                           [PROPOSED] ORDER

 2          By July 6, 2018, the parties shall file a joint status report (a) addressing the status of the

 3   mediation efforts and, if appropriate, (b) propose new dates for the hearing on Facebook’s Motion

 4   to Dismiss and Initial Case Management Conference.

 5          IT IS SO ORDERED.

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 7   Dated: ____________________, 2018                      ______________________________________

 8                                                          Honorable Edward J. Davila
                                                            UNITED STATES DISTRICT JUDGE
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                                                          -4-       JOINT POST-MEDIATION STATUS REPORT
                                                                                    & [PROPOSED] ORDER
                                                                                 CASE NO. 16-CV-06440-EJD
               Case 5:16-cv-06440-EJD Document 64 Filed 06/08/18 Page 6 of 7



 1                        ATTESTATION PURSUANT TO CIVIL L.R. 5-1(i)(3)

 2          I, Jahan C. Sagafi, am the ECF User whose ID and password are being used to file this

 3   document. I hereby attest that concurrence in the filing of this document has been obtained from the

 4   signatories.

 5                                                       /s/ Jahan C. Sagafi
                                                        Jahan C. Sagafi
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                                                       -5-       JOINT POST-MEDIATION STATUS REPORT
                                                                                 & [PROPOSED] ORDER
                                                                              CASE NO. 16-CV-06440-EJD
              Case 5:16-cv-06440-EJD Document 64 Filed 06/08/18 Page 7 of 7



 1                                    CERTIFICATE OF SERVICE

 2          On June 8, 2018, I electronically filed the foregoing with the Clerk of the Court by using the

 3   CM/ECF system, which will send a notice of electronic filing to all persons registered for ECF. All

 4   copies of documents required to be served by Fed. R. Civ. P. 5(a) and L.R. 5-1 have been so served.

 5                                                       /s/ Jahan C. Sagafi
                                                         Jahan C. Sagafi
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                                                       -6-       JOINT POST-MEDIATION STATUS REPORT
                                                                                 & [PROPOSED] ORDER
                                                                              CASE NO. 16-CV-06440-EJD
